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 5
                          IN THE UNITED STATES DISTRICT COURT
 6
                        FOR THE EASTERN DISTRICT OF CALIFORNIA
 7

 8                                         ) Case No.: CR.S. 07-056 LKK
     United States of America,             )
 9                                         ) STIPULATION AND ORDER TO CONTINUE
                   Plaintiff,              ) STATUS CONFERENCE
10                                         )
             vs.                           ) Court: Hon. LAWRENCE K. KARLTON
11                                         ) Time:   9:30 a.m.
                                           ) Date:   March 18, 2007
12   Natosha Saunders, et.al.              )
                                           )
13                 Defendants
14

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16           Natosha Saunders pled guilty to Count Five of a seven count
17   indictment, to a violation of 18 U.S.C. 18 U.S.C. § 1030(a)(4) – Fraud
18   and Related Activity in Connection with Computers.
19           Ms. Saunders is currently scheduled to be sentenced on March       3,
20   2008.    The probation office has interviewed Ms. Saunders and needs
21   additional time to verify her information and prepare a report.          The
22   parties request that the matter be calendared for judgment and
23   sentencing on March 18, 2008, and that date is available with the
24   Court.    The parties request the following schedule:
25   Draft Pre-sentence report:                  February 12, 2008
26   Objections:                                 February 26, 2008
27   Final Report:                               March 4, 2008
28   ///




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 1   J & S:                                      March 18, 2008

 2
     Dated: January 29, 2008             Respectfully submitted,
 3

 4
                                         __/s/ Shari Rusk___
 5
                                         Shari Rusk
                                         Attorney for Defendant
 6                                       Natosha Saunders

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 8
     Dated: January 29, 2008            __/s/_ Robin Taylor________
 9                                     /s/ Robin Taylor
                                      Assistant United States Attorney
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12
                                         ORDER

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          IT IS SO ORDERED.

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     DATED: February 1, 2008

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